               Case 5:19-cv-05470-JFL Document 1 Filed 11/21/19 Page 1 of 10

  '.
·\t '\
       ~ JF               I
                      IN THE U1"ITED STA TES DISTRICT COURT
~                  FOR THE EASTER1" DISTRICT OF PENNSYLVANIA

    EUGENE HOLZER,                                    CIVIL ACTION NO.- - - -
                  Plaintiff,

                  v.

    PARTY CITY HOLDCO, INC.
                  Defendant.                                                \)~~<B

                              COMPLAINT A1"D JURY DEMAND
                                                                                   FILED
                                                                                   NOV 21 2019
    I.     PRELIMINARY STA TEMENT:                                              KATE BMKMAN, Cleli
                                                                              BY.          pep.am
            1.    This is an action for an award of damages, attorneys' fees and other relief

     on behalf of the Plaintiff, Eugene Holzer ("Plaintiff Holzer"), a former employee of the

     Defendant, Party City Holdco, Inc. ("Defendant") who has been harmed by the

     Defendant''s discriminatory employment practices.

            2.   , This action is brought under the Age Discrimination in Employment Act,

     29 U.S.C. §621 et seq. ("ADEA"), and the Pennsylvania Human Relations Act, 43 P.S.

     §951 et ~ ("PHRA").

    II.   JURfSDICTION AND VENUE:

          3.      The jwisdiction of this Court is invoked, and venue is proper in this district,

    pursuant to 28 U.S.C. §§ 1331 and 1391, as Plaintiff Holzer's claims are substantively

    based on the' ADEA.

          4.     , The supplemental jurisdiction of this Court is invoked pursuant to 28

    U S.C. § 1367 to consider Plaintiff Holzer's claims arising under the PHRA.
          Case 5:19-cv-05470-JFL Document 1 Filed 11/21/19 Page 2 of 10



         5.    All conditions precedent to the institution of this suit have been fulfilled

and Plaintiff Holzer has satisfied all other jurisdictional prerequisites to,the mai,ntenance

of this action. On August 26, 2019, a Notice of Right to Sue was issued by the Equal

Employment Opportunity Commission ("EEOC") and this action has been filed within

ninety (90) days of receipt of said notice.

III.     PARTIES:

         6.    Plaintiff, Eugene Holzer ("Plaintiff Holzer"), is a fifty-six (56) year old

individual and citizen of the Commonwealth of Pennsylvania, residing therein at 1090

Greenleaf Drive, Bethlehem, Pennsylvania 18017.

         7.    Defendant, Party City lloldco, Inc. ("Defendant"), is a corporation

maintaining a place of business located at 601 Baltimore Pike, Springfield, Pennsylvania

19064.

         8.    At all times relevant hereto, Defendant was acting through its agents,

servants, and employees, who were acting within the scope of their authority, course of

employment, and under the direct control of the Defendant.

         9. : At all times material herein, the Defendant has been a "person" and

"employer'; as defined by the ADEA and PHRA, and has been, and is, subject to the

provisions of each said Act.

IV.      STATEMENT OF FACTS:

         10.   Plaintiff Holzer, a fifty-six (56) year old individual, was employed by

Defendant from on or about July 30, 2018 until on or about January 15, 2019, the date his

te1mination.

                                               2
        Case 5:19-cv-05470-JFL Document 1 Filed 11/21/19 Page 3 of 10



       11.       By way of background, Plaintiff Holzer was employed by Patty City
                                                       \
Management Company ("PC Mgmt. Co."), from on\or about May 15, 1995 until on or

about July 26, 2018.

       12.       Plaintiff Holzer began his employment with PC Mgmt. Co. in the position

of Store Manager and earned two (2) promotions during his 24 year tenure of

employment. At the time of his separation, Plaintiff Holzer held the position of Director

of Operations/District Manager.

       13.       In or about February of 2018, Plaintiff Holzer leai:ned from Phil Nasuti

("Nasuti"), Owner, PC Mgmt. Co., that he was considering the sale of all 16 franchise

stores under PC Mgmt. Co's ownership to Defendant.

       14.       Thereafter, in or about May of2018, Plaintiff Holzer learned from Michael

Bush ("Bush"), Controller, PC Mgmt. Co., that Nasuti had decided to move forward with

the sale of the franchise stores. However, Bush assured Plaintiff Holzer that his

employment was secure and that he would continue his employment with Defendant

following said sale.

       15.       In or about July of 2018, during a corporate meeting attended by Nasuti,

Bush, and :Michael Brand ("Brand"), Co-Owner, Plaintiff Holzer was again assured that

his employment would continue with Defendant.

       16. '.    On or about July 25, 2018, mere days prior to the sale of PC Mgmt. Co,

Plaintiff Holzer learned from Ed Roldan ("Roldan), Senior Manager, that Defendant had

replaced hiln in his position as District :Manager with Danielle Sundermeier
             !
            Case 5:19-cv-05470-JFL Document 1 Filed 11/21/19 Page 4 of 10



("Sundermeier"), a significantly less experienced, less qualified individual in her thirties

(30s).                                                                        "\,.
         17.         Despite Defendant's assurances that Plaintiff Holzer woul~ continue in his
                                                                                I
position following the sale, Defendant instead hired Plaintiff Holzer to ili,e seasonal and

temporaiy position of Senior Operations Manager.

         18.         Upon leaining of the drastic change in position, Plaintiff Holzer attempted

to contact Nasuti, Bush, and Brand to obtain an explanation. However, none of the

aforesaid      in~ividuals   replied.

         19.         The following day, Justin Charpentier ("Charpentier"), Corporate

EJTiployee, notified Plaintiff Holzer that his new position he would not be eligible for

employee benefits. Charpentier further stated that Defendant could retain Plaintiff I lolzer

beyond Januaiy should a position be available.

         20.         Thereafter, Plaintiff Holzer made numerous efforts to obtain permanent

employment with Defendant however Defendant refused to afford Plaintiff Holzer any

interviews for a permanent position.

         21.         On or about Januaiy 15, 2019, Defendant terminated Plaintiff Holzer's

employment.

         22.         Significantly, the only individuals employed in management roles with PC

Mgmt. Co. who were not offered pe1manent positions with Defendant were Plaintiff

Holzer, age fifty-five (55), and Daniel Dodd ("Dodd"), age fifty-eight (58).

         23.         Plaintiff Holzer believes and avers that Defendant's articulated reason for
                 '
failing to hite him for a pe1manent position and te1minating his employment was

                                                    4
        Case 5:19-cv-05470-JFL Document 1 Filed 11/21/19 Page 5 of 10



pretextual and that Defendant actually terminated and failed to hire him because of his

age (55).

                                         COUNT I
                              (ADEA - Age Discrimination)
                               Plaintiff Holzer v. Defendant

       24.     Plaintiff Holzer incorporates by reference paragraphs 1 through 23 of this

Complaint as though fully set forth at length herein.

       25.     The actions of the Defendant, through its agents, servants and employees,

in subjecting Plaintiff Holzer to discrimination on the basis of his age, and in knowing or

showing reckless disregard for whether its conduct was prohibited by statute, constituted

willful violations of the ADEA.

       26.     As a direct result of the aforesaid unlawful discriminatory employment

practices engaged in by the Defendant in violation of the ADEA, Plaintiff Holzer

sustained permanent and irreparable harm, resulting in the loss of his employment, which

caused him to sustain a loss of earnings, plus the value of certain benefits, plus loss of

future earning power, plus back pay, and front pay and interest due thereon.

                                        COU~T     II
                             (PURA - Age Discrimination)
                            Plaintiff Holzer v. the Defendant

       27.     Plaintiff Holzer incorporates by reference paragraphs 1 through 26 of this

Complaint as though fully set forth at length herein.

       28. ·   The actions of the Defendant, through its agents, servants and employees,

m subjecting Plaintiff llolzer to discrimination on the basis of his age, constituted

violations of the PHRA

                                              5
               Case 5:19-cv-05470-JFL Document 1 Filed 11/21/19 Page 6 of 10
,.



            29.     As a direct result of the aforesaid unlawful discriminatory employment

     practices engaged in by the Defendant in violation of the Pl IRA, Plaintiff Holzer

     sustained permanent and iITeparable harm, resulting in the loss of his employment, which

     caused him to sustain a loss of earnings, plus the value of certain benefits, plus loss of

     future earning power, plus back pay, and front pay and interest due thereon.

            30.     As a further direct result of the aforesaid unlawful discriminatory

     employment practices engaged in by the Defendant in violation of the PHRA, Plaintiff

     Holzer suffered severe emotional distress,   embarra~sment,     humiliation, and loss of self-

     esteem.

                                      PRAYER FOR RELIEF

            31.     Plaintiff Holzer incorporates by reference paragraphs 1 through 30 of this

     Complaint as though fully set forth at length herein.

            WHEREFORE, Plaintiff I lolzer requests that this Court enter judgment in his

     favor and against the Defendant, and Order that:

            a.      Defendant compensate Plaintiff Holzer with a rate of pay and other benefits

     and emoluments of employment to which he would have been entitled had he not been

     subjected to unlawful disc1imination;

            b. : Defendant compensate Plaintiff Holzer with an award of front pay, if

     appropriate;

            c. ·    Defendant pay to Plaintiff Holzer   pun~tive   damages, liquidated damages,

     compensat01y damages for future pecuniaiy losses, pain, suffering, inconvenience,

     mental anguish, loss of enjoyment of life, and other nonpecuniaiy losses as      allowable~


                                                   6
        Case 5:19-cv-05470-JFL Document 1 Filed 11/21/19 Page 7 of 10



      d.     Defendant pay to Plaintiff Holzer pre and post judgment interest, costs of

suit and attorney and expert witness fees as allowed by   law~


      e.     The Court award such other relief as is deemed just and proper.

                                   JURY DEMAND

      Plaintiff Holzer demands trial by jury.


                                                SIDNEY L. GOLD & ASSOC., P.C.


                                         By:    -
                                                           aY-c
                                                     ----,,L - - -      ·-
                                                 /s/ Sidney L. Gold, Esquire SG 1387
                                                SIDNEY L. GOLD, ESQUIRE
                                                I.D. No.: 21374
                                                1835 Market Street, Suite 515
                                                Philadelphia, PA 19103
                                                (215) 569-1999
                                                Attorneys for Plaintiff

DATED:       November 21, 2019




                                            7
                                      Case 5:19-cv-05470-JFL Document 1 Filed 11/21/19 Page 8 of 10
\.               ~

     JS44 <Rev 06117)                      JfL                                            CIVIL COVER SHEET                                                 !5: / Cf-e l/-ot./76
     The JS 44 c1vtl cover sheet a11d the mformallon contamed herem neither replace nor supplement the fi!mg and service of pleadmgs or other papers as reqmred by law, except as
     provided by local rules of court This form. approved by the Jud ta! Conference of the l:mted States m September 1974. ts requtred for the use of the Clerk of Court for the
     purpose of 1111batmg the ctv1l docket sheet (SEE INSTRUCT!. S 0, 'EXT PAnE Or THIS FORM)

     I. (a) PLAL"ffIFFS                                                                                                       DEFENDANTS
     EUGENE HOLZER                                                                                                        PARTY CITY HOLDCO, INC

           (b)   County of Residence of Fust LIBted Plat                                                                      County of Residence of Fust Listed Defendant
                                         (EXCEPT IN US PIA                                                                                        (IN US PlAINTIFF CASES
                                                                                                                              NOTE    IN LAND CONDEMNATION CASES. VSE
                                                                                                                                          THE TRACT OF LAND !NVOI. VED

           {c)   Attorneys (FmnName.Address. andTelephoneNu                                                                   Attorneys (If Known)
     Sidney L Gold, Esquire
     Sidney L Gold & Assoc , P C
     1835 Market St, Suite 515 Ph1la. PA 19103 215-569-1999

     II. BASIS OF JURISDICTION fPlacean                                       "X" mOneBoxOnty;                 Ill. CITIZENSHIP                                              PARTIES (Place an "X" zn One Box/a                  Plam
                                                                                                                        (For Diversity Cases                                                      and One Box for Defen         t)
     ::J 1    t; S Goverrunent                ~3          Federal Question                                                                                   DEF                                                     PTF        DEF
                 Pl amtiff                                  (l! S Government Not a Party)                         Citizen of Tins State                                  Incorporated or Pnnc1pal Place                ::J      :X 4
                                                                                                                                                                           of Busmess ill flus State

     0 2      U S Gov emment                  Cl 4        D1vers1ty                                               Citizen of Another State                               Incorporated andPrmcipal Place
                 Defendant                                  (Indicate Czt1zensl11p of Parties zn Item ll/J                                                                  of Busmess In Another State

                                                                                                                  Citizen or Subject of a             0 3     ::J   3    Foreign Nat10n                                ::J 6    ::J 6
                                                                                                                    Fore1 C.o
     IV NATURE OF SUIT (Place an "X "m One Rox Only)                                                                                                           Chck here or Nature of Smt Code Descnollons
     ts" ~;: CONTRACT•-3~\,~                                 H   •*'   «, -    9TORTS
                                                                                            ,,           '0    /'/ ~FO                       ALTYl'l'i:        r        ·~          ~~~                   OTHER ST-A           E&•ci'* I
     0 110 Insurance                              PERSONAL INJURY                         PERSONAL INJL'RY         ::J 625 Drug Related Seizure          ::J 422 Appeal 28 use 158               :::J 375 False Clauns Act
     ::J 120Manne                            0 l: 0 Airplane                         ::J 365 Personal Injury ·             of Property 21 USC 881        0 423 Withdrawal                        n      376Qu1 Tam 01 use
     0 130 Miller Act                        0 31 5 Airplane Product                          Product Liability    ::J 6900ther                                  28use151                                    3729(a))
     ::J 140 Negol!able !nstnll"lent                  Lrnbihty                       8 36 7 Health C,are/                                                                                        :::J   400 State Reapportionment
     0 I SO Recovery of Overpayment          :::J 320 Assault. : ,1be: &                      Phannaceullcal                                             ""' 'PROU,• u:rv RTGHJJS>,2             :::J   410 Antitrust
              & Enforcement of Judgment                   S!ander                             Personal Injury                                             ::J 820 Copynghls                      0      430 Banks and Bankmg
     0 1SI Medicare Act                      ::J 330 Federal Employers                        Product Liability                                           :::J 830Patent                         ::J    450 Commerce
     :::J 1 52 Recovery of Defaulted                   :..iabtl1ty                   :::J 368 Asbestos Personal                                           :::J 835 Patent · Abbreviated          0      460 Deportallon
               Student Loans                 ::J 340Manne                                      ln)UIY Product                                                      New Drug Apphcal!on           ::J    4 70 Racketeer Influenced and
               (Excludes Veterans)           ::J 34 S Manne Product                            Liabi\,ty                                                  0 840 Trademark                                    Corrupt Orgaruzations
     :::J 153 Recovery of Overpayment                  Liability                         PERSONAL PROPERTY         "'~!IJl,lJl\BO                  m~<                  ""E•·                    ::J    480 Consumer Credit
               of Veteran's Benefits        '::J 3'>0 Motor Vehicle                  0 370 Other Fraud             ::J 7 i 0 Farr Labor Standards        ::J 861 H::A (1395ff)                   0      490 Cable/Sat TV
     0 160 Stockholders· Smts                ::J 355 Motor Velucle                   0 371 Truth m Lendmg                     Act                        ::J 862 Black Lung (923)                ::J    850 Secunties/C.ommodilles/
     Cl 190 Other C.ontract                           Product Lrnb1hty               ::J 380 Other Personal        '1 720 Labor/Management               0 863 DIWC/DIWW (405(g))                            Exchange
     0 195 Contract Product Liability        '1 360 Other Personal                            Property Damage                 Relations                  O 864 SSID Title XVI                    :::J   890 Other Statutory Actions
     'l 196 Franc:hise                                Injury                         'l 38'> Property Damage       ::J 740 Railway tabor Act             ::J 865 RSI ( 405(g))                   0      891 Agncultural Acts
                                              '.1 362 Personal In1ury ·                       Product Liabihty     0 751 Family and Medical                                                      '.1    891 Envrromnental Matters
                                                      Medical Maloracl!ce                                                     Leave Act                                                          '.1    895 Freedom of lnformat10n
     b *~:~ItPROPERT~~4Wt'~                 'i:l\\•w'Cl\'lli'lUGlITS7-· ee " PRISONER PEilTIONS                    rJ 790 Other Labor L1llgat10n         Ml®JERWBl'l'l<\X'1SU!!rS           \\               Act
      0 210 Land Condernnat10n               ::J 440 Other Cml Rights           Habeas Corpus,                     ::J 791 hmployee Retrrement           O 870 Taxes CC: S Plamllff              ::J    896 Arbitral!on
      '.1 220 Foreclosure                    ::J 441 Votmg                  ::J 46 3 Ahen Detamee                            Income Secunty Act                or Defendant)                     :::J   899 Admm1Strative Procedure
     0     >WR~.C=& ,,_~ \                   :)!( 442 Employment            ::J '\; 0 Mol!ons to Vacate                                                  0 871 IRS TlnrdParty                                Art'Review or Appeal of
     ::J   240 Torts to Land                      443 Housmg/                         Sentence                                                                  26 use 7609                                  Agency Dec IBion
     'l      S
           24 I ort Product L1ab1hty                  Accommodatl.ons       ::J ) 30 General                                                                                                     ::J    950 Cons11tu11onahty of
     '.1   290 All Other Real Property       ::J   l4SAmer w,Visabtl1ties · 0 S3S Death Penalty                            IMMIGRATION " ···                                                                 State Statutes
                                                      Employment                Other·                             ::J 462 Naturahzallon Apphcatmn
                                             ::J 46 Amer wl!)1sabtl1l:les ::J S4C Mandamus & Other                 ::J 465 Other lmmtgral!on
                                                      Other                 ::J '\SO Ctv11 Rights                          Acl!ons
                                            "'""
                                             ::J 448 Education              ~ SSS Pnson ('.ondillon
                                                                            8 S60 C'N11 Detamee

 ~
                                                                                      Condil!ons of
                                                                                            Confmement
~· <J\{IGIN                  fPlacean "X"mOneBoxOnly)
 ):8: 1 ~ gmal                   n   2 Removed frorn                          '1 3   Remanded from            '1 4 Remstated or      '.")   5 I ransferred from          n      6   Mul1Idistr1ct             '1 8 Mullld1stnct
                  ceedmg                 State Court                                 Appellate Court               Reopened                   Another D1stnct                       L11tga1ton •                    L11Igat10n •
                                                                                                                                              (specify)                             Transfer                        Direct File
                                                    Cite the C S C1v1l Statute under which you are fihng (Do not cite 1unsdictwnal statutes unless diversity)

'\1·         J\USE           OFACTI~N
                                                    ADEA PHRA
                                                    Brief description of cause
                                                                                                                                                                                                              \
     VII. REQUESTED IN                              ..,    CHtCK []- nus[<; A C'LA:SS ACTION                          DEMAND$                                       CHECK Y},S only 1f demaTI lded 'ncomplamt

          COMPLAil''ff:                                    t;!<..DFR RULE 23. F R Cv P                                  150,000 00 ·, (\ Olt'·P'f.,,'(_ JURY DEMAND:                                      ~ Yes        C'JNo

     vm. RELATED CASE(S)
                                                                                                                                                                                                              1Y 21 2019
                        ;                                 (See 1n'itruchons)
          If ANY                                                                      Jt;l)Gf                         .                                     DOCKET NL'MBl.R                              N_
     DAH                                                                                s;(;"<AIUKI: OF AT"ORNEY OF RJ<.O:JR!l
     11/21/2019                                                                        /S/ SIDNEY L GOLD, ESQUIRE                                  oQf
     FOR omcF lJSE            O~LY


           REC"F:PT   #                                                                     A!'PL YNG Jf P
                                                                                                                          \                    /
                                                                                                                                            rr.:>GF                                 MAG Jl.1JGE
                               Case 5:19-cv-05470-JFL Document 1 Filed 11/21/19 Page 9 of 10
                                                                                                                                                              5470
                           Jfl                                t:'.'iITED STATES DISTRICT COl'RT
                                                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                              DESIG!'l<ATIO~         FORM
                                                                                                                                       t9
                    (to be used by counsel or prose plaintiff to mdzcate the category of the case for the purpose of assignment to the appropnate calendar)

Address of Plamt1ff
                                                                   1090 Greenleaf Drive, Bethlehem; PA 18017
                               --- - - - - - - - - - - - - - - - - -                                      -     - - ------                           ----------
Address of Defendant - - - - - - - - - -                              601 Baltimore Pike. Springfield, PA 19064
                                            i
                                                                                                                                                          ---------
                                                                                     601 Baltimore Pike. Springfield, PA 19064
Place of Accident, Incident or Transaction                                     -     --·-- -         __,_          - - - -----                 ----------

RELATED CASE, IF AJVY.

Case Number                                                         Judge                                                        Date Termmated

C1v1l cases are deemed reliited when Yes 1s answered to any of the followmg questions

       Is this case related to property mcluded man earher numbered SUit pendmg or wtthm one year                                    YesD                 No[{]
       previously termmated action m this court 9

2      Does this case mvolve the same issue of fact or grow out of the same transaction as a pnor smt                                YesD                 No[{]
       pendmg or w1thm one year prev10usly termmated action m this court9

3      Does this case m vol ve the vahd1ty or mfnngement of a patent already m smt or any earlier                                    YesO                 No[{]
       numbered case pending or wtthm one year previously termmated act10n of this court9

4      Is this case a second or successive habeas corpus, soc1 1 s                 nty appeal, or pro se c1v1l nghts                 YesD                 No[{]
       case filed by the same md1vtdual?

I certify that, to my knowledge. the wtthm case                                       related to any case now pendmg or wtthm one year previously termmated action m
this court except as noted above

DATE       11 /21/2019                                                                /s/ Sidney L Gold, Esq.                                     21374
                                                                                                                                           Attorney ID     #   rtj applicable)


CIVIL: (Place a     ~·in   one category only)

A             Federal Questwn Cases                                                             B.   Diverszty Jurisdzctzon Cases,

01           Indemmty Contract, Manne Contract, and All Other Contracts                         0             Insurance Contract and Other Contracts
0 2          FELA                                                                               O 2           Airplane Personal Injury
0 3          Jones Act-Personal Injury                                                          01            Assault. Defamat10n
0            Antitrust                                                                          0 4           Manne Personal Injury
             Patent                                                                             0 5           Motor Vehicle Personal ln]ury
             Labor-Management Relations                                                         0 6           Other Personal Injury (Please specify)
             C1vtl Rights                                                                       0 7           Products Liab1hty
             Habeas Corpus                                                                      0 s           Products Liab1hty Asbestos
             Secunt1es Act(S) Cases     0
                                                                                                0 9·          All other D1vers1ty Cases
             Social Security Rev1ew Cases                                                                     (Please specify)
             All other Federal Question Cases
             (Please specify) ,



                                                                             ARBITRAno:-. CERTIFICATION
                                                    ([he effect of this cert1ficatmn ts to remove the case from e/Ig1b1/lty for arb1trat1on)

I,                 EY L. GOLD ESQUIRE
                           _    •
                                                1
                                                             ,   counsel of record or prose plamtrll do hereby cert1ry

                suant to I .o¢al C1v1l Rule 53 2, § 3(c) (2), that to the best of my knowledge and behef. the damages recoverable m this c1v1I action case
             ex eed the sum of $150.000 00 exclusive of interest and costs
                                    I



              R hef other th~n monetary damages 1s sought                                                                                            ~o~ 21 2019
DATI'.     11 /21/2019                                              ,P:L:'.,;~~'~:L:~;d.                               Esq
                                                                                                                                                  21374
                                                                                                                                           Attorney I[)   #    rrf applrrnbleJ

1\:0TI. A tnal de novo will     be a tnal b)' JUT)' only if there has been comphance with F R C P    38

' " 609 (512018)
         Case 5:19-cv-05470-JFL Document 1 Filed 11/21/19 Page 10 of 10

                        IN THE t;NITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT O:F PENNSYLVANIA
                    CASE MANAGEMENT TRACK DI<:SIGNATION FORNI
    EUGENE HOLZER                                                                 CIVIL ACTION

                 v
    PARTY CITY HOLDCO, INC

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form m all civil cases at the time of
fihng the complaint and serve a copy on all defendants (See§ l 03 of the plan set forth on the reverse
side of this form ) In the event that a defendant ~oes not agree with the plamtiff regardmg said
designation, that defendant shall, with its first app,i;arance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Managem~1 Track Des1gnation Form specifymg the track
to which that defendant believes the case should be~igned
               •                                      -   £.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) HabeaS Corpus - Cases brought under 28 U S C § ~ th[ough § 2255                                  ( )
                                                               ...   ,,
(b) Social Security -- Cases requesting review of a dec1s10rf'bf the Secretary of Health
    and H~man Services denymg plaintiff Social Secunty Benefits                                      ( )
(c) Arb1trat1on - Cases reqmred to be designated for arbitrat10n under Local Civil Rule 53 2         ( )
(d) Asbestos - Cases mvolvmg claims for personal mJury or property damage from
    exposure to asbestos                                                                             ( )
(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or mtense management by
    the colirt (See reverse side of this form for a detailed explanation of special
    management cases )

(f) Standard Management ·- Cases that do not fall mto any one of the other tracks



_1_1/_2_1/_2_01_9_ _ _ _ _    ~/Sidney L. Gold. Esq.                      PLAINTIFF
Date                        /~ttorney-at-law                                  Attorney for
(215) 569-1999                  (215) 569-3870                             sgold@discnmlaw.net

Telephone                           f'AX Number                               E-Mail Address


(Civ. 660) 1O/Q2




                                                                                             NOV 21 2019
